   Case: 1:19-cv-03851 Document #: 48 Filed: 09/25/19 Page 1 of 2 PageID #:5016




                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
  WHAM-O HOLDING, LTD. and
  INTERSPORT CORP. d/b/a WHAM-O,
                                                  Case No.: 1:19-cv-3851
       Plaintiffs,
                                                  Judge Matthew F. Kennelly
  v.
                                                  Magistrate Judge Jeffrey Cummings
  THE PARTNERSHIPS AND UNINCORPORATED
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.

                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on August 7, 2019 [36] in favor

of Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this

judgment and hereby fully and completely satisfy the same as to the following Defendants:

                 NO.                                   DEFENDANT
                 428                                    Dastra.DS9


       THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
    Case: 1:19-cv-03851 Document #: 48 Filed: 09/25/19 Page 2 of 2 PageID #:5016




DATED: September 23, 2019                          Respectfully submitted,




                                                       ling Jiang
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                                                   ATTORNEY FOR PLAINTIFF


Subscribed and sworn before me by Yanling Jiang, on this 23rd day of September, 2019.

Given under by hand and notarial seal.



               OFFICIAL SEAL
             OLLIE B. JONES
        Notary Public - State of Illinois   Notary Public
      My Commission Expires 4/07/2022

                                            State of ::[,/II J1 o t S
                                            County of    CO tJ le.
